Case 3:09-cr-02710-BTM       Document 271        Filed 05/14/10      PageID.942       Page 1 of 5



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  8                                 UNITED STATES DISTRICT COURT

  9                               SOUTHERN DISTRICT OF CALIFORNIA

 10     UNITED STATES OF AMERICA,          )             Case No. 09cr2710-BTM
                                           )
 11                       Plaintiff,       )             AMENDED ORDER OF
                                           )             CRIMINAL FORFEITURE
 12           v.                           )
                                           )
 13     AMANDA MAY VUE (7),                )
                                           )
 14                       Defendant.       )
        ___________________________________)
 15

 16            On January 19, 2010, this Court entered its Preliminary Order of Criminal Forfeiture, which

 17     condemned and forfeited to the United States all right, title and interest of AMANDA MAY VUE

 18     (7) in the properties listed in the Forfeiture Allegation of the Superseding Information, namely,

 19            1)      a 1999 Porsche 9ll Carrera, California license #5MWX189,
                       VIN#WP0AA2992XS623892;
 20
               2)      a 2006 Land Rover,              California     license #6DJL816,
 21                    VIN#SALSF25426A923266;

 22            3)      2003 Mercedes Roadster, California license #5YKD384,
                       VIN#WDBSK75F93F029621;
 23
               4)      2006 Honda Civic, California license #6ANZ308, VIN#
 24                    2HGFG12806H517562;

 25            5)      1965 Ford Coupe Classic, California license #5LYC100, VIN#
                       5R09A135050;
 26
               6)      1968 Chevrolet Classic,        California    license   #6GGV018,
 27                    VIN#124378N350407;

 28            7)      2-18k hoop earrings, 1 gram gold;
Case 3:09-cr-02710-BTM        Document 271          Filed 05/14/10         PageID.943    Page 2 of 5



  1             8)      1-14k yellow gold ruby and diamond ring;

  2             9)      1-pair 22k gold loop earrings, 3 grams gold;

  3             10)     4 coin pendants 22k and pure gold coins with 3 in bezels, total gold
                        weight 22.8 grams;
  4
                11)     1-22k gold chain with "S" link clasp, gold weight 15.1 grams;
  5
                12)     2 Men's yellow metal rings with black onyx stones, total weight
  6                     15.1 grams; and

  7             13)     1-Man's 18k Rolex Submariner watch with stainless steel blue face.

  8             For thirty (30) consecutive days ending on March 12, 2010, the United States published on

  9     the Government’s forfeiture website, www.forfeiture.gov, notice of the Court's Order and the

 10     United States' intent to dispose of the properties in such manner as the Attorney General may

 11     direct, pursuant to 21 U.S.C. § 853(n) and Rule G(4) of the Supplemental Rules for Admiralty or

 12     Maritime Claims and Asset Forfeiture Actions, and further notifying all third parties of their right

 13     to petition the Court within thirty (30) days of the final publication for a hearing to adjudicate the

 14     validity of their alleged legal interest in the property.

 15             On February 12, 2010, Notice of Order of Forfeiture was sent by certified mail as follows:

 16     Name and Address                        Article No.                     Result

 17     Chang V. Vang                           7007 2560 0001 9143 9194        Signed for as received
        2352 Finch Lane                                                         on 2/13/10
 18     San Diego CA 92123

 19     Nicholas Vang                           7007 2560 0001 9143 9200        Signed for as received
        2352 Finch Lane                                                         on 2/13/10
 20     San Diego CA 92123

 21     William V. Vang                         7007 2560 0001 9143 9217        Signed for as received
        10615 Mathieson Street                                                  on 2/13/10
 22     San Diego CA 92129

 23     Anthony Vang (1)                        7007 2560 0001 9143 9224        Signed for as received
        c/o Frank J. Ragen, II                                                  on 2/16/10
 24     Attorney at Law
        105 West F Street, Suite 215
 25     San Diego CA 92101

 26      Sean Michael Smith (2)                 7007 2560 0001 9143 9231        Signed for as received
        c/o Timothy A. Scott                                                    on 2/16/10
 27     Attorney at Law
        1350 Columbia Street, Suite 600
 28     San Diego CA 92101

                                                          2                                09cr2710
Case 3:09-cr-02710-BTM        Document 271        Filed 05/14/10          PageID.944    Page 3 of 5



  1     Name and Address                       Article No.                     Result

  2     Justino Rochin, III (3)                7007 2560 0001 9143 9248        Signed for as received
        c/o Patrick Q. Hall, Esq.                                              on 2/16/10
  3     Seltzer Caplan McMahon Vitek
        750 B Street, Suite 2100
  4     San Diego CA 92101-4605

  5     Kenny Bedoya (4)                       7007 2560 0001 9143 9255        Signed for as received
        c/o Brian D. Kennedy                                                   on 2/16/10
  6     Attorney at Law
        P.O. Box 1477
  7     Solana Beach CA 92075

  8     Sai Yang (5)                           7007 2560 0001 9143 9262        Signed for as received
        c/o Benjamin P. Lehman                                                 on 2/16/10
  9     Attorney at Law
        964 Fifth Avenue, Suite 303
 10     San Diego CA 92101

 11     Nang Chang (6)                         7007 2560 0001 9143 9279        Signed for as received
        c/o Gary Paul Burcham                                                  on 2/16/10
 12     Attorney at Law
        964 Fifth Avenue, Suite 300
 13     San Diego CA 92101

 14     Marla Laree Caniglia (8)               7007 2560 0001 9143 9286        Signed for as received
        c/o Richard J. Boesen                                                  on 2/16/10
 15     Attorney at Law
        1230 Columbia Street, Suite 650
 16     San Diego CA 92101-8571

 17            On or about April 7, 2010, a Petition for Remission or Mitigation from Kinecta Federal

 18     Credit Union (“Kinecta”) as to asset number 3, the 2003 Mercedes Roadster, California license

 19     #5YKD384, VIN#WDBSK75F93F029621 (“2003 Mercedes”), was received by the Federal

 20     Bureau of Investigation (FBI). Kinecta’s claim to the 2003 Mercedes is based upon a retail

 21     installment agreement with Amanda M. Vue, initiated on or about February 5, 2007. The

 22     United States recognizes the validity and priority of the interest of Kinecta in said 2003 Mercedes.

 23                    Thirty (30) days have passed following the final date of notice by publication and

 24     notice by certified mail, and no third party has made a claim to or declared any interest in the

 25     forfeited property described above except Kinecta Federal Credit Union in the 2003 Mercedes.

 26            Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that, as a result

 27     of the failure of any third party except Kinecta to come forward or file a petition for relief from

 28     forfeiture as provided by law, all right, title and interest of AMANDA MAY VUE (7) and any and

                                                         3                                09cr2710
Case 3:09-cr-02710-BTM         Document 271         Filed 05/14/10       PageID.945        Page 4 of 5



  1     all third parties in the following properties (except Kinecta, in the 2003 Mercedes) are hereby

  2     condemned, forfeited and vested in the United States of America:

  3             1)      a 1999 Porsche 9ll Carrera, California license #5MWX189,
                        VIN#WP0AA2992XS623892;
  4
                2)      a 2006 Land Rover,                California      license #6DJL816,
  5                     VIN#SALSF25426A923266;

  6             3)      2003 Mercedes Roadster, California license #5YKD384,
                        VIN#WDBSK75F93F029621;
  7
                4)      2006 Honda Civic, California license #6ANZ308, VIN#
  8                     2HGFG12806H517562;

  9             5)      1965 Ford Coupe Classic, California license #5LYC100, VIN#
                        5R09A135050;
 10
                6)      1968 Chevrolet Classic,          California    license    #6GGV018,
 11                     VIN#124378N350407;

 12             7)      2-18k hoop earrings, 1 gram gold;

 13             8)      1-14k yellow gold ruby and diamond ring;

 14             9)      1-pair 22k gold loop earrings, 3 grams gold;

 15             10)     4 coin pendants 22k and pure gold coins with 3 in bezels, total gold
                        weight 22.8 grams;
 16
                11)     1-22k gold chain with "S" link clasp, gold weight 15.1 grams;
 17
                12)     2 Men's yellow metal rings with black onyx stones, total weight
 18                     15.1 grams; and

 19             13)     1-Man's 18k Rolex Submariner watch with stainless steel blue face.

 20             IT IS FURTHER ORDERED that costs incurred by the United States Marshals Service,

 21     the Federal Bureau of Investigation and any other governmental agencies which were incident to

 22     the seizure, custody and storage of the properties be the first charge against the forfeited properties.

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Case 3:09-cr-02710-BTM        Document 271        Filed 05/14/10      PageID.946        Page 5 of 5



  1            IT IS FURTHER ORDERED that the United States Marshals Service shall dispose of the

  2     forfeited properties according to law, including but not limited to, the return of the 2003 Mercedes

  3     to Kinecta Federal Credit Union.

  4
        DATED: May 14, 2010
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                                                     Honorable Barry Ted Moskowitz
  7                                                  United States District Judge

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